             Case 1:23-cr-00490-SHS                Document 501-5           Filed 07/06/24       Page 1 of 1




                             IS EG HALAL GLOBAL
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Please submit the following official documents: (All documents need to be submitted in PDF English
translated format) or statement onto the facility’s letterhead with clarification

  •   Abattoir or Meat Plant license

  •   Quality Certificate or Management Quality Certificate

  •   22000 ISO Certificate / HACCP Certificate / BRC Certificate

  •   Cleaning and disinfecting Certificate or Contract

  •   Laboratory reports for quality control for water, carcass, meat product, chemical and bacteriological

  •   Pest control certificates and contract

  •   HACCP Flow Chart of abattoir process from slaughter to end point (storage) with CCPs

  •   Veterinary Health Certificate for Exporting to Egypt template

  •   Customer complaint sheet

  •   Blue Print/Layout of slaughterhouse

  •   Type of Stunning machine




                                                                                                            DEF. EXH

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